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                                   UNITED STATES BANKRUPTCY COURT
                                    SOUTHERN DISTRICT OF FLORIDA

 In re:        Yenima Hernandez                                                Case No.: 23-16463-CLC
               Yoandre Perez                                                   Chapter 13
                       Debtor(s)                           /

       MOTION TO REINSTATE CHAPTER 13 CASE AND CERTIFICATE OF FUNDS

       COMES NOW the Debtor(s), Yenima Hernandez and Yoandre Perez, by and through
undersigned counsel, and files this Motion to Reinstate Chapter 13 Case and Certificate of Funds and as
grounds therefore states:
       1. This case was filed on August 16, 2023 and dismissed on February 6, 2024, for failure to

                become current with Chapter 13 Plan Payments.

          2. The Section 341 Meeting of Creditors was scheduled for September 15, 2023.

          3. Debtors have provided undersigned counsel with funds in the form of a cashier’s check that

                brings them current with his Chapter 13 plan as of the date of the instant motion.

          4.    Debtors wish to continue with the Chapter 13 bankruptcy.

          WHEREFORE the undersigned respectfully requests that this Honorable Court enter an Order

Granting Debtor’s Motion to Reinstate Chapter 13 Case.

          I HEREBY I hereby certify that I am admitted to the Bar of the United States District Court for the Southern
District of Florida and I am in compliance with the additional qualifications to practice in this Court set forth in Local Rule
2090-1(A).

Respectfully submitted on February 8, 2024.

 Respectfully submitted:                            Jose A. Blanco, P.A.
 February 8, 2024                                   By: /s/ Jose A. Blanco | FBN: 062449
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